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                                 AFFIDAVIT IN SUPPORT OF AN
                                 APPLICATION FOR A CRIMINAL
                                         COMPLAINT                                                   ffiffi0ffiruffin
                                                                                                              |t1AR   1s   2020
         I, Carson Green, being first duly sworn, hereby depose and state as follows:
                                                                                                    CLERK, U,S. DISTRICT COURT
                                                                                                     MINNEAPOLIS. MINNEEOTA
                        INTRODUCTION AND AGENT BACKGROUND

         1.      I am a Special Agent of the Federal Bureau of Investigation ("FBI"). I have been

employed by the FBI since September of 2009. Since February of 2010 I have been assigned to

the Joint Terrorism Task Force (the "JTTF") of the FBI's Minneapolis Division. In this capacity

I   investigate, among other things, criminal cases relating               to international terrorism, such           as


allegations of the provision of material support to designated foreign terrorist orgarizations. In

addition to my on-the-job experience, the FBI has provided me with extensive training in

international terrorism and the techniques used                  to   investigate allegations     of international
terrorism.

         2.      I make this Affidavit in support of an application for a criminal complaint for
Muhammad Masood,          a citizen of Pakistan, born in            October    of   1991, residing   in   Rochester,

Minnesota, for violating Title 18, United States Code, $ 23398, Attempting to Provide Material

Support to a Designated Foreign Terrorist Organization ("FTO").

         3.      The facts set forth in this affidavit are based on my own personal knowledge,

information provided by two reliable Confidential Human Sources (hereafter "CHS-l" and

"CHS-2" individually and "CHSs" collectivelyl), information provided                               by other law
enforcement officers, recordings           of   conversations between the            two CHSs, my review of

documents and computer records related to this investigation, communications with others who

have personal knowledge of the events and circumstances described herein, and information


t The CHSs are paid informants for the   FBl. Both   CHSs have been found to be reliable sources for t

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                                                                                                             |.4AR   le    2020

                                                                                                         U.S. DISTRICT COURT MPLS
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gained through my training and experience. This affidavit is intended to show only that there is

sufficient probable cause for the requested warrant and does not set forth all of my knowledge

about this matter.

           4.        In this affidavit, the FBI has provided translations of certain Arabic words or

phrases. These translations are based on information provided to me by an FBI linguist and fiom

my training and experience.              I   have indicated the translations by bracketing the English

translations that came from Arabic recordinss and documents.2

                                                  BACKGROUND

           5.       Based on my training and experience as a Special Agent in the FBI, as well as the

facts as set forth        in this affrdavit, there is       probable cause       to believe that MUHAMMAD
MASOOD (hereafter MASOCD), attempted to provide material support and resources to                              a


foreign terrorist organization-that is, the Islamic State                    of Iraq    and Al-Sham ("ISIS")--in

violation of Title 18, United States Code, $ 23398. Specifically, Masood attempted to provide

material support and resources, as that term is defined in Title 18 United States Code, Section

2339(a), including personnel (himself), to ISIS.

           6.       On February 19, 2020, MASOOD met with CHS-I and CHS-2 and pledged

allegiance or "bayat" to ISIS and its leader and discussed his desire to travel to Syria and fight

for ISIS. Based on my training and experience, I understand the term "bayat" to mean making                    a

solemn promise.

           7.       On or about February 21,2020, MASOOD purchased a plane ticket from Chicago

to Amman, Jordan. Based on the meeting between CHS-I, CHS-2 and MASOOD, and online



2
    The transcriptions and translations are in preliminary form and have not yet been finalized.

                                                             2
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communications with CHS-I, MASOOD believed CHS-I and CHS-2 were members of ISIS

who would help facilitate his travel to Syria and that his flight from Chicago to Amman would

enable him to connect with ISIS members overseas, who, in turn, would assist MASOOD with

traveling to ISIS within Syria. On February 25,2020, MASOOD purchased an Amtrak train

ticket for travel between La Crosse, Wisconsin and Chicago, Illinois on March 22,2020. Your

affiant is aware that Amtrak runs a shuttle between Rochester. Minnesota zurd La Crosse.

Wisconsin for its customers wishins to access its train line.

       8.          On March 16,2020, MASOOD's travel plans changed because Jordan closed its

borders to incoming travel based on the Coronavirus pandemic. Along with CHS-I, MASOOD

developed a plan to        fly from Minneapolis, Minnesota to Los Angeles to meet up with CHS-I,

who would assist MASOOD with travel via cargo ship to join ISIS.

       9.          On March 19. 2020, MASOOD traveled from                  Rochester. Minnesota to

Minneapolis-St. Paul International Airport (hereafter MSP) to board a Southwest Airlines flight

to Los Angeles, California. Upon arrival at MSP, MASOOD checked luggage at the ticket

counter and received his boarding pass from the airline's employee. MASOOD then proceeded

through security and was subsequently arrested by the FBI for violating Title 18, United States

Code, Section 23398.

                                       STATUTORY AUTHORITY

       10.         Title   18, United States Code, Section 23398 prohibits, in pertinent part, a person

from knowingly providing "material support or resources to a foreign terrorist organization," or

attempting or conspiring to do the same.

       11.         "The term'material support or resources'means any property, tangible or

intangible,   or   service, including currency      or monetary   instruments   or financial   securities,

                                                      3
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financial services, lodging, training, expert advice or assistance, safe houses, false documentation

or identification, communications equipment, facilities, weapons, lethal substances, explosives,

personnei (-1 or more individuals who may be or include oneself), and transportation, except

medicine or religious materials." Title 18, United States Code, Section 2339A(bX1). "The term

'training' means instructions or teaching designed to impart a specific skill, as opposed to

general knowledge."    Title 18, United States Code, Section 2339A(b)(2). "The term 'expert

advice or assistance' means advice or assistance derived from scientific, technical or other

specialized knowledge." Title 18, United State Code, Section 2339A(bX3).

        12. Title 18, United States Code, Section 23398(h) states "no person may be
prosecuted under this section   in connection with the term 'personnel' unless that person has

knowingly provided, attempted      to provide, or     conspired   to provide, a foreign tenorist
organization with 1 or more individuals (who may be or include himself) to work under that

terrorist organization's direction or control or to organize, manage or supervise, or otherwise

direct that operation of that organization. Individuals who act entirely independently of the

foreign terrorist organization to advance its goals or objectives shall not be considered to be

working under the foreign terrorist organization's direction and control."

                     THE ISLAMIC STATE OF IRAQ AND AL-SHAM

        13.    On or about October 15,2004, the United States Secretary of State designated al

Qaeda   in Iraq (AQD, then known as Jam'at al Tawhid wa'al-Jihad, as a Foreign             Terrorist

Organization (FTO) under Section 2I9 of the Immigration and Nationality Act (the INA) and         as


a Specially Designated Global Terrorist entity under section 1(b) of Executive Order 13224.

        14.    On or about May 15, 2014, the Secretary of State amended the designation of

AQI as an FTO under section 219 of the INA and as a Specially Designated Global Terrorist

                                                 4
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entity under section 1(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the

Levant    (IS[) as its primary name. The Secretary also added the following aliases to the FTO
listing: The Islamic      State of Iraq and al-Sham (i.e., "ISIS"         -   which is how the FTO will be

referenced herein), the Islamic State or Iraq and Syria, ad-Dawla al-Islamiyya                fi al-'Iraq   wa-sh-

Sham, Daesh, Dawla al Islamiya, an Al-Furqan Establishment for Media Production. In an audio

recording publicly released on or about June 29,20I4,ISIS announced a formal change of its

name to the Islamic State. On or about September             2I, 2015, the Secretary added the following

aliases to the FTO     listing: Islamic State, ISIL, and ISIS. To date, ISIS remains a designated

FTO.

                           FACTS ESTABLISHING PROBABLE CAUSE

          15.    The FBI initiated an investigation           in or around January of         2020, based on

information which indicated encrypted Social Media Platform (SMP) user "BB" was planning to

provide material support to the foreign terrorist orgarrization, ISIS, by requesting assistance on

making Hijra.3 As set forth below,            I   have determined that the encrypted SMP user 6(88"

(hereinafter referenced as BB) is MASOOD.

          16.    On or about January 24, 2020, the user contacted CHS-I via encrypted SMP
            (cBB"
username            and requested assistance from CHS-I to make                Hrjra. BB     used the SMP to




3 Based  on my training and experience, conversations with other experienced agents, and conversations with FBI
linguists fluent in Arabic I have leamed "Hijra" or "Hijrah," is an Arabic word meaning "migration" but was
commonly used by ISIS to refer to migration to ISlS-conholled territory for the purpose of joining or supporting
ISIS to engage in violent jihad. "Jihad" is an Arabic word that literally means striving or struggling, but in the
context of ISIS supporters, commonly refers to a holy war, fight, or struggle against the enemies of Islam.
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discuss the Khilafaha and "dawlas al islamia" (widely known to be additional names for ISIS)

with CHS-I.

              17.     During a conversation on SMP with CHS-I on or about January 24,2020,88

provided the following information about himself:

                  o   BB is 28 years old;

                      BB was     a medical doctor when    BB lived in Pakistan:

                      BB currently lives in the United States and is an H-lB Visa holder;6

                      BB has lived in the United States for just about two years; and

                      BB has a Pakistani passport;

             18.      BB told CHS-I that BB wanted to make Hijra to al-Sham,7 Iraq, or                        perhaps

Khurasans because           "i   want to fight on the frontline as well as help the wounded brothers

because who ever          [sic] leaves for hijrah     *a I@EIE              D
                                                                                              ."e BB indicated that

he wanted to        join ISIS to fight, stating "inshAllah     a perosn   [sic] like me belongs on the frontline

not anywhere else." BB asked CHS-I for advice on how to complete Hijra. CHS-I stated to


a
    Khilafah refers to ISIS's claim that it has established a worldwide "caliphate," or a system of government in which
an absolute ruler, known as a "caliph," has supreme religious, political and military authority and governs according
to   a   body of Islamic law known as "Sharia law."

5
    Dawla is an Arabic word that literally means state, but in this context, it is a term used by ISIS sympathizers to
refer to the Islamic State.

6   An H-lB Visa is a visa in the United State that allows U.S. employers to temporarily employ foreign workers in
specialty occupations.

7
    al-Sham refers to the modem day country of Syria.

8 Khurusan is an ancient geographical description starting in the northeastern region of Iran stretching to
Afghanistan.

e
  According to an FBI Linguist, the Arabic phrase      lElE!ffil        *O o                      means "then, he   will
die or then, death is realized" and "his reward becomes due and is certain with Allah."
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BB, "I told you akhilo it's all about niyall and my advice will not help you here." BB responded,

"as     i   doctor   i   want to help mujahedeenl2 on the ground.           [sic]" BB indicated to CHS-I that
because he was currently           in the United States, "sometimes i wanto [sic] attack enemy when i am

behind enemy linea [sic] itself' because "not many people cant [sic] even reach here to attack."

Discussing his travel to make Hijra, BB noted that he              will   lose the chance to conduct an attack in

the United States:          "i wonder if I will miss the opportunity of attacking the enemy when I was in

the middle of        it."

             19.         BB explained to CHS-I that BB wanted to make Hijra because BB "hates smiling

at the passing kuffarl3 just to not make them suspicios            [sic] . . . I cannot tolerate it anymore." BB

indicated that he wanted assistance from CHS-I to make Hijra without raising suspicion. BB

further indicated that he wanted to conceal his true intentions                    -   i.e., to join ISIS    -   from

authorities, telling CHS-I that BB could find a NGO (l\on-government Organization) which

could hire BB on paper as a doctor. During one conversation, BB told CHS-I that BB wanted to

leave by the end of February because BB's parents would return in April and would not permit

BB to leave the United States.

             20.         On or about January 25,2020, and continuing on January 26,2020, BB initiated

conversation with CHS-I, continued to discuss ISIS and he continued to inquire about CHS-I's




r0
     Akhi is a slang word meaning "brother" or "my brother" and is often used   as a term   of endearment between two
Muslim males.

1r
     Niya, in this context, means intention. CHS-1 is asking BB what BB's intention is for making Hijra.

12
     Mujahadeen (also spelled mujahideen) are those engaged in jihad. Your affrant believes Masood uses this term to
mean fighter for Islam fighting against non-Muslims.

13
     Kuffar is an Arabic term meaning infidel, disbeliever, or nonbeliever. In the context of ISIS supporters,
commonlv refers to anv non-believer or non-Muslim.
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ability to help BB to make Hijra. They discussed BB's current travel plan to go to Turkey or

Jordan in order to make Hijra onward to Syria. During discussions on the travel route, BB

requested CHS-I assist BB with BB's plans to make Hijra, specifically by obtaining a visa for

travel to Jordan. Via the SMP, BB provided CHS-I a photograph of his Pakistani passport and

told CHS-I that his "real name" is MASOOD. The photograph provided was of a Pakistani

passport for MASOOD:
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            2I.      The picture of the passport matched Department of Homeland Security records

for H-lB visa holder MUHAMMAD MASOOD. MASOOD's visa application indicates that

MASOOD is a licensed medical doctor in Pakistan, which is how BB had described himself to

CHS-I. Department of Homeland Security records show that MASOOD entered the United

States on or around February of 2018. This is consistent with BB having told CHS-1 that he had

been in the United States for almost two years. Until shortly before his arrest, MASOOD had

worked for a known medical clinic in Rochester, Minnesota as a Research Coordinator, which

your affiant verified by reviewing that medical clinic's employment records.

            22.      After sending the picture of his passport, MASOOD told CHS-I that he                        was

forced to cut his beard short because of pressure from his family and the                    "kuffar." I         have

reviewed MASOOD's photograph that is maintained by the Minnesota Department of Vehicle

Services in connection with an identification card issued in July of 2019, as well as photographs

taken during surveillance of MASOOD on or about January 29,2020, and have observed that his

beard is indeed shorter than in his passport photograph. By the end of the January 25, 2020,

conversation with MASOOD, CHS-I told MASOOD                        "I will talk to the brothers   and   I will   start

working on hijrah process akhi." MASOOD affirmed, "ok inshAllah."r4 Based on my training

and experience, and the context of the conversations between MASOOD and the CHSs, your

affiant understands that MASOOD and the CHSs used the phrase "the brothers" in reference to

other members of ISIS.

           23.       On January 27, 2020, MASOOD continued communicating on SMP with CHS-l

about what he intended to do           if   he was able to make Hiira:




ra
     InshaAllah means if Allah wills it.
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             when i first came here. ...wa Allahe even then it was just because i wanted to learn
             something that would be useful in qitalrs. . . that only kuffar teach civillians [sic]
             and only army teaches to army in Pakistan . . . that was my niyah

             . . . and jihad is fard al ainr6 today . . . my parent would get heart too . . . but i
             have my brother who is capable now of taking care of them . . . and only then i am
             leaving them and fulfilling my duty

              i want to go back and do engineering sometimes . . . make drones . . . istishhadirT
              drones

During a discussion about viewing information from Dawla, MASOOD added that he wanted to

". . . bitcoint [sic] link in it at the end so akhwanls can donate but I meed [sic] to find a way to

donate anonymously."

             24.        On or around January 29, 2020, MASOOD continued discussing Hijrah with

CHS-I. Onthis date, he asked the CHS-1 if "the brothers" have travel plans arranged for him

yet. CHS-I             replied to MASOOD that he would check with the brothers to get an update.

MASOOD told the CHS that he (MASOOD) wanted to leave by the end of February and that he

planned to sell his possessions, provide notice about leaving to his employer, and notice to his

landlord about           rent: "i just need to know at least a month in             advance as to when     i   have to

go...because           I have to resigm [sic] from job and give notice to leaving rented place and things

like that       i   have already planned       it though." MASOOD further              explained that he   will   need

weapons training when he joins ISIS and he discussed the use                          of small drones that can      be




t5   qital   means fight or combat in Arabic, and is often used interchangeably with jihad.

16
   Your affiant understands this ("fard al ain") to mean Fard al-Ayn, which, in Islamic Law, refers to each individual
Muslim's legal obligations. In this context, I understand MASOOD to be saying that it is his obligation to engage in
jihad.

r7 Istishhad        is the Arabic word for martyrdom. Istishhadi means "martyrdom seeker," and is used to refer to   a
suicide bomber.

18
     Akhwan is the plural of akhi to describe the "brothers."

                                                                10
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purchased online and turned into "istishhaddi" (meaning martyr or suicide) drones for use in

Syria or in America. MASOOD also told the CHS that he wanted his final destination to be

Syria because        "i   wanna [sic] go to sham because may bq qiyamahle is very                     close . . and
inshAllah      i   want to be part of the army that meets the Rum at Dabiq or Amaq20 inshAllah."

MASOOD also explained his intention is to do jihad: "its about action too akhi . . . those people

who were struck in makka2l . . . after islamic state [sic] was formed in medina . . . they regretted

later on. you have to do your jihad always . . . because               if you dont [sic] do jihad      and dont [sic]

have intension to do jihad then you die on a branch              of nifaq.22"

           25.       On or around February 1.2020. MASOOD initiated a conversation with CHS-1 to

show CHS-I an idea MASOOD wanted "the brothers" to work on. During the conversation,

CHS-I told MASOOD "you are going to do hijrah akhi to dawla And you might have to kill

people and this is a critical moment to you and to your               eman          So you might have to do this

akhi and      I don't want you to think akhi that I         helped you with something that you are not sure

about." MASOOD responded to this question with the following statements:

           "akhi"



le
   Qiyamah refers to Islamic concept of the "Day of Judgment," Allah's final assessment            of humanity, which
includes the annihilation and judgment of all sentient creatures.

20
   MASOOD says he wants to be part of the Army that meets the Rum (your affiant believes MASOOD means
"Romans" or "Crusaders") at Dabiq or Amaq. Dabiq and Amaq is a battle that will precipitate the end times in
jihadist ideology.

21
     Makka is another way to spell Mecca, which is one of Islam's holiest sites located in Saudi Arabia.

22
     Nifaq means hypocrisy. The word is used to describe people who publicly show themselves as a Muslim but are
not following the true religion.

23
  Eman, generally spelled Iman in English, is usually.hanslated as faith or belief and is a word taken from the
Quran to describe a person's righteous faith and deeds.

                                                            11
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           "i want to kill   and get killed...and   kill   and get   killed"

           "and again and again"

           "this is what even rasool Allah     saas wished"2a


           "even though Allah said waAlkah yasimuka min naas"25

           26.      On February 13,2020, MASOOD and CHS-I discussed via SMP the process by

which ISIS recruits foreign fighters. During this discussion, MASOOD told CHS-I "you know

fbrother]...there is so much I wanted to do here...lon wulf [sic] stuff you know...but                I realizedl

should be on the ground helping brothers sisters kids inshAllah." Based on my training and

experience, and the context          of the conversations between MASOOD and CHS-I,                     I   believe

MASOOD is referring to wanting to conduct "lone wolf'terrorist attacks on the United States.

           27.      MASOOD and CHS-1 also discussed via SMP a meeting in which MASOOD

would be able to talk directlv in a video conference call with an individual that MASOOD

believed was an ISIS commander located overseas who would vet MASOOD. On February 19,

2020, MASOOD traveled from Rochester, Minnesota, to Bloomington, Minnesota. CHS-I

picked MASOOD up at a shopping mall then drove to a nearby hotel. The interactions between

CHS-1, CHS-2 (the individual Masood believe to be an ISIS commander located overseas), and

MASOOD were recorded. To facilitate the interview with the CHS-2, CHS-I provided

MASOOD a means of communication that MASOOD believed would be secure. Prior to the

interview, CHS-I clarified with MASOOD whether MASOOD still wanted to make Hijra.

MASOOD responded affirmatively, stating he was "sick of this place" (referring to living to the


                T
2a
     Your affiant believes that MASOOD is saying "this is what the messenger of Allah (peace bd upon him) wishes."

25
  Your affiant believes that MASOOD is referencing a Quran passage meaning "and Allah will protect you from the
people."

                                                            I2
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United States). While CHS-I was preparing the communication equipment, MASOOD

produced pieces of paper which appeared to be MASOOD's notes made in preparation for the

interview with ISIS personnel. MASOOD explained                   to CHS-I that the notes detailed          his

timeline for Hijra. During conversation with CHS-1, MASOOD told CHS-I that he had bought

a vest for    hunting. Based on the context of the conversation and additional conversations about

the vest, your affiant believes MASOOD intends to use the vest for combat in Syria. MASOOD

asked     CHS-I if MASOOD should take the vest with him to Syria even though the hunting vest

might look suspicious.

           28.       MASOOD then besan his interview with CHS-2. who would 'vet' MASOOD to

travel overseas and fight for ISIS. CHS-2 asked MASOOD how MASOOD found Dawla.

MASOOD explained that he had been looking for the truth and started listening to Anwar al-

Awlaki.26 Through al-Awlaki's lectures, MASOOD said he leamed that Dawla al Islamiya in

Iraq was where the truth was. MASOOD further explained to CHS-2 that he has now, "seen how

the kuffar are after coming to the United States and now understands them better." MASOOD

also said,    "if   you want to learn the huqq," you have to see which direction the kuffar's alrows

are pointing so that's how        I   found Dawla." CHS-2 asked MASOOD why he wanted to go to

Syria. MASOOD responded that he wanted "to be a combat medic...and also fight." CHS-2

clarified by asking MASOOD if he is ready to fight and MASOOD responded affrrmatively with




26 Anwar Al-Awlaki was an Islamic lecturer and a leader of Al-Qaeda in the Arabian Peninsula ("AQAP"), a
Yemen-based designated foreign terrorist organization that has claimed responsibility for terrorist acts against
targets in the United States, Saudi Arabia, Korea and Yemen since its inception in January 2009. Pursuant to a
Presidential Executive Order, Al-Awlaki was designated by the United States as a "Specially Designated Global
Terrorist" on July 12,2010. Al-Awlaki was reportedly killed in Yemen in September 201l.

"    Huqq.is an Arabic term meaning Truth.

                                                      13
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"yes" and later described himself as having "been ready for some                        time."   CHS-2 offered

MASOOD the opportunity to pledge abayat2s to the leader of ISIS. MASOOD corrected CHS-2

about the correct kunya2e for the ISIS Emir30 and asked,                "Isn't it Abu Ibrahim?" MASOOD then

pledged abayat to ISIS in the Arabic language.

            29.      During the interview with CHS-2 and during conversations with CHS-I on or

around February 19,2020, MASOOD expressed concern with the logistics of traveling to Jordan,

where MASOOD would be met by ISIS members, and the timing of a travel visa that MASOOD

wanted ISIS to provide           him. MASOOD           suggested he could purchase a travel visa to Jordan on

his own but requested a fake visa to keep his identity clean for future travel after joining ISIS.

Immediately after the interview with CHS-2 (the purported ISIS commander), MASOOD spoke

with CHS-I about logistics and his timeline for traveling                 overseas to   join ISIS. During   these

conversations, MASOOD referenced several tasks that he needed to complete before traveling

even though MASOOD said he wanted to "go, like,                     today." MASOOD stated he did not want to

arouse suspicions and told CHS-I that he needed to complete tasks                   in a logical way to avoid

attention. MASOOD gave examples, such as quitting his research assistant job and giving his

landlord notice that he would be vacating his apartment. After considering the timeline,

logistics, and his list of tasks with CHS-1, MASOOD stated that he wanted to arrange his travel

plans for the end of March of 2020.




28
     Bayat, also called bay'ah, is an oath of allegiance to a leader.

2e
     Kunya, in this context, means nickname or title of respect.

30
     Emir also means leader.

                                                              t4
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         30.    On or around February 2I,2020, MASOOD sent a message to CHS-I containing

a screenshot of his flight reservation from O'Hare International Airport in Chicago, Illinois, to

Amman, Jordan, scheduled for March 22,2020. The copy of the reservation showed notification

of the reservation was sent to an email address known to be used by MASOOD and that it was

purchased using a credit card also known to be used by MASOOD. Consistent with his earlier

stated plans, MASOOD informed       CHS-I that he will resign from his job on March 17,2020,

then travel by train to Chicago on March     2I,2020.      MASOOD wrote that "those few days

between 17 to   2l are going to be the most difficult   days for,me...but may Allah make   it   easy   i

am excited as well as worried haha strange." MASOOD completed this conversation with CHS-

1   by providing the following screenshot of common ISIS imagery:




                                    **l,l.Tl$sp$l13l'




         31.    On or around February 21,2020, MASOOD utilized a web-based application

which allows users to buy and sell items online. The app has been used by MASOOD to list

multiple household items for sale including, but not limited to, a mattress, shoe rack, clothing
                                                15
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drying rack, and office chair. MASOOD registered his account on this app using a Google email

account othersignupsl@gmail.com and user name "M Masood." Multiple people were observed

by agents entering MASOOD'S apartment empty-handed then leaving a short time later with

household items. Your affiant believes this activity is consistent with the sale of his household

items using the aforementioned app.

         32. On or around February 23, 2020, an open-source              search   of   MASOOD's

Rochester, Minnesota address revealed a rental listing on a known rental website, indicating

MASOOD's apartment would be available for rent as of April 1, 2020. The listing on this

website had been updated on approximately February 22, 2020. This updated rental listing

coincided with text messages exchanged between MASOOD's known cell phone number and a

telephone number used by the point      of contact for the apartment rental listing that had   been

identified throughla court order.

         33.    On or around February 25,2020, MASOOD told CHS-1 that he was going to give

a   termination notice to his employer indicating that his final day of employment would be March

17,2020.

         34.    On February 25, 2020, MASOOD purchased a ticket for travel on Amtrak

between Rochester, Minnesota and Chicago, Illinois on March      22,2020. MASOOD provided

Amtrak an email address known to be used by MASOOD and purchased his ticket using a credit

card also known to be used by MASOOD.

         35.    Up until on or about March 14,2020, MASOOD proceeded with his travel plans

from Rochester, Minnesota, to Chicago, Illinois, where he was to board a flight from Chicago

O'Hare International Airport on March 22, 2020, bound for the country of Jordan where

MASOOD planned to meet members of ISIS. However, the global Coronavirus pandemic

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affected MASOOD's arranged travel plans. On or around March 14,2020, Jordan's government

stopped all incoming flights into the country. Shortly after the decision by the country of Jordan,

MASOOD contacted CHS-1 about the need to make changes to his travel itinerary.

         36.    On or around March 16,2020, CHS-I and MASOOD discussed alternative routes

for travel to join ISIS, including MASOOD possibly traveling on a cargo ship from a port in

California,that would leave the United States in approximately two weeks. CHS-1 explained that
            I

            I


the cargo ship could deliver MASOOD to ISIS territory in approximately two months. In order
            I


            I


to facilitatb MASOOD's travel on the cargo ship, CHS-I and MASOOD discussed travel from
            I


            I



MSP to Lds Angeles International Airport (hereafter         LAX). MASOOD           agreed with this revised

travel plan, stating in part,   "if   the brothers really need me then i am willing to take the risk of

going illegally by cargo ship...not that      i want to be in khurasan.. i     wanna be in AshSham..but

akhi..i am going through a lot right now...Allahu akbar."

         37.    On or around March 16, 2020, MASOOD messaged CHS-I stating he                           had

purchased an airline ticket for travel from MSP to         LAX scheduled for departure on March         19,


2020, and arriving at LAX at approximately 6:00 p.m. that same day.

         38. At approximately 9:00 a.m. on March 19, 2020, agents conducting                       physical

surveillance watched MASOOD board a shuttle bus                in   Rochester. Minnesota. MASOOD's

shuttle bus drove him to MSP Termrnal2. Asents then observed MASOOD walk to the ticket

counter at Terminal 2 where MASOOD checked his luggage through to the                    LAX.   MASOOD

then proceeded directly through Transportation Security Administration Security Checkpoint #1

-   where he was subsequently arrested by the FBI for attempting to provide material support to a

designated foreign terrorist organization in violation of        Title 18, United States Code, Section

23398. When arrested, MASOOD had a boarding               pass for his   flight to LAX in his possession.

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                                        CONCLUSION

       39.       Based on the information described above,     I respectfully submit there is probable

cause to believe that MUHAMMAD MASOOD,                 in the District of Minnesota and    elsewhere,

attempted   to   provide material support and resources to           a   designated foreign terrorist

organization, in violation of Title 18, United States Code, Section 23.398.

                                  REQUEST FOR SEALING

        40. I further request that Court seal the underlying        affidavit supporting the criminal

complaint until further order of the Court. My supporting affidavit details matters about the

investigation that are not a matter of public information and the premature disclosure of this

investigation will jeopardize the FBI's efforts to pursue active leads in this investigation and the

ongoing investigation.




                                                      Respectfully submi




                                                      Special Agent Carson Green
                                                      Federal Bureau of Investisation

       Subscribed and swom to before me
       on the 19th day of March,2020




         E HONORABLE DAVI
       UNITED STATES MAGI




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